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                         UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF NEW JERSEY


   IN RE JOHNSON & JOHNSON “BABY
   POWDER” and “SHOWER TO SHOWER”
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION
                                                               MDL NO. 2738 (MAS) (RLS)
   THIS DOCUMENT RELATES TO:

   Lenora Walker vs. Johnson & Johnson, et al.
   Case No.: 3:24-cv-02607-MAS-RLS



                                     NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

  Lenora Walker.

         This __9th___ day of April, 2024.

                                                    Respectfully submitted,

                                                    ONDERLAW, LLC

                                             By:    /s/ Stephanie L. Rados
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                                      Certificate of Service

        The undersigned hereby certifies that this document was filed and electronically served
  by way of the Court’s electronic filing system this __9th___ day of April, 2024.


                                                     /s/ Stephanie L. Rados
